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                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA

American Rena International Corp., et al.                        CASE NUMBER

                                                                                  CV12-6972 FMO(JEMx)
                                                 PLAINTIFF(S)
                              v.
Sis-Joyce International Co., Ltd, et al.
                                                                               DEFAULT BY CLERK
                                                                                 F.R.Civ.P. 55(a)
                                              DEFENDANT(S).


       It appearing from the records in the above-entitled action that summons has been served upon the
defendant(s) named below, and it further appearing from the affidavit of counsel for Plaintiff, and other
evidence as required by F.R.Civ.P. 55(a), that each of the below defendants have failed to plead or otherwise
defend in said action as directed in said Summons and as provided in the Federal Rules of Civil Procedure:

       Now, therefore, on request of counsel, the DEFAULT of each of the following named defendant(s) is
hereby entered:

         Christine Nina Ko, an individual;

         Robert Simone, an individual




                                                           Clerk, U. S. District Court



June 18, 2013                                              By K. Bradshaw
Date                                                         Deputy Clerk

CV-37 (10/01)                              DEFAULT BY CLERK F.R.Civ.P. 55(a)
